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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 IN RE:

 APPLICATION OF THE COMMITTEE ON
 THE JUDICIARY, U.S. HOUSE OF                               No. 19-gj-48 (BAH)
 REPRESENTATIVES, FOR AN ORDER
 AUTHORIZING THE RELEASE OF
 CERTAIN GRAND JURY MATERIALS


                                               NOTICE

       The Committee on the Judiciary of the U.S. House of Representatives respectfully

notifies the Court that the D.C. Circuit has issued the attached per curiam Order in the

Department of Justice’s appeal in this case.

                                               Respectfully submitted,

                                               /s/ Douglas N. Letter
                                               Douglas N. Letter (DC Bar No. 253492)
                                                   General Counsel
                                               Todd B. Tatelman (VA Bar No. 66008)
                                                   Deputy General Counsel
                                               Megan Barbero (MA Bar No. 668854)
                                                   Associate General Counsel
                                               Josephine Morse (DC Bar No. 1531317)
                                                   Associate General Counsel
                                               Adam A. Grogg (DC Bar No. 1552438)
                                                   Assistant General Counsel
                                               Jonathan B. Schwartz (DC Bar No. 342758)
                                                   Attorney
                                               OFFICE OF GENERAL COUNSEL
                                               U.S. HOUSE OF REPRESENTATIVES
                                               219 Cannon House Office Building
                                               Washington, D.C. 20515
                                               Telephone: (202) 225-9700
                                               douglas.letter@mail.house.gov

                                               Annie L. Owens (DC Bar No. 976604)
                                               Daniel B. Rice (DC Bar No. 888273343)
                                               Joshua A. Geltzer (DC Bar No. 1018768)
                                               Mary B. McCord (DC Bar No. 427563)
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                                    INSTITUTE FOR CONSTITUTIONAL
                                       ADVOCACY AND PROTECTION
                                    Georgetown University Law Center
                                    600 New Jersey Avenue NW
                                    Washington, D.C. 20001
                                    Telephone: (202) 662-9042
                                    ao700@georgetown.edu

                                    Counsel for the Committee on the Judiciary, United
                                    States House of Representatives

October 29, 2019




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                 United States Court of Appeals
                             FOR T HE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 19-5288                                                  September Term, 2019
                                                                          1:19-gj-00048-BAH
                                                         Filed On: October 29, 2019
In re: Application of the Committee on the
Judiciary, U.S. House Of Representatives, for
an Order Authorizing the Release of Certain
Grand Jury Materials,
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Committee on the Judiciary and United States
House of Representatives,

              Appellees
       v.

United States Department of Justice,

              Appellant

       BEFORE:       Millett, Pillard, and Wilkins, Circuit Judges

                                         ORDER

      Upon consideration of the emergency motion for stay pending appeal and for an
immediate administrative stay, it is

        ORDERED that the district court’s October 25, 2019 order be administratively
stayed pending further order of the court. The purpose of this administrative stay is to give
the court sufficient opportunity to consider the emergency motion for stay pending appeal
and should not be construed in any way as a ruling on the merits of that motion. See D.C.
Circuit Handbook of Practice and Internal Procedures 33 (2018). It is

       FURTHER ORDERED, on the court’s own motion, that appellees file a response to
the motion by 4:00 p.m. on Friday, November 1, 2019, and that appellant file any reply by
4:00 p.m. on Tuesday, November 5, 2019. The parties are directed to hand-deliver the
paper copies of their submissions to the court by the time and date due.
                                        Per Curiam
                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                   BY:     /s/
                                                           Amy Yacisin
                                                           Deputy Clerk
